  Case 3:17-mj-00054-JCH Document 6 Filed 11/06/17 Page 1 of 1 Pageid#: 30
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                            UN ITED STATES D ISTRICT CO UR T               JUL      .U       ,rdFRK
                                       FOR TH E      '                    BY;
                            W ESTERN DISTRICT OF V IRGIN IA                         .   3*

                              CHARLOTTESVILLE DIVISION

IN THE M ATTER O F THE SEARCH O F:               )
FA CEBO OK U SER ID                              ) Crim.No.3:17-M.1-00054
DAN IEL.B.BORDEN THAT IS STORED                  )
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                                   M O TIO N T O SEAL

              COM ES N OW the Urlited States ofA m erica through its attorney and requestthat

the Search and Seizurq W anu t,theApplication forSearch and SeizureW arrant,the Search and

Seizlzre W an'
             antAffidavit,the Inventory Return,thisM otion to Seal,and Orderto Sealrem ain

tmdersealofthisCourtforthefollowing reasons:

              The governmentstatesthatthedisclosureofthedocumentscould alertsuspectsin
acriminalinvestigation and/orhinderthegovem m ent'seflbrtsin theinvestigation by causing the
flightofthetargetand/orconfederates,aswellasthe destnlction ofevidence.

       2.     The governm entrequeststhatthedocllm entsremain tmdersealby thisCourttmtil

rettu'
     n ofthe indictm ent.


                                                 Respectfully subm itted,
                                                 RICK A .M OU N TCA STLE
                                                  c 'g United States o ey

D ate: 11/02/2017                                            G .
                                                  onald M .Huber
                                                 A ssistantU nited StatesAttom ey
